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UNITED STATES DISTRICT COURT                                   USDSSDNY
SOUTHERN DISTRICT OF NEW YORK
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                               Plaintiff,                                                     --
        -v-                                                 No. 13 Civ. 4420 (RJS)
                                                                   ORDER
CIFC ASSET MANAGEMENT LLC, et ai.,

                               Defendants.


RICHARD J. SULLIVAN, District Judge:

       Now before the Court is Plaintiff's request for a 90-day adjournment of all discovery

deadlines.    (Doc. No. 26.) For the reasons set forth below, the Court grants a one month

extension of the fact discovery deadline.

       On July 26, 2013, the Court issued the Case Management Plan and Scheduling Order

setting forth discovery deadlines. (Doc. No. 19.) As its name suggests, the Scheduling Order is

a court order.    As such, it is binding on the parties.   Although many courts freely allow

extensions and delays, the Court made clear to the parties at the initial conference on July 26,

2013 that no adjournments would be allowed without advanced notice and good cause.

       Plaintiff did not provide advanced notice. Her first request came the Monday of the week

that fact-discovery was to end. (Doc. No. 24.) Because that was the week of Thanksgiving, this

request preceded the deadline by three business days. After that request was denied, Plaintiff

submitted this second request. Plaintiff's letter does not explain why the need for adjournment

was not raised until the week of the close of fact-discovery. As the letter shows, it must have

been obvious to the parties for some time that an adjournment would be necessary - the parties
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are still negotiating over email search terms and have not yet conducted any depositions. Even

if, as Plaintiff claims, these delays were entirely due to Defendants, Plaintiff had ample time and

the responsibility to raise the issue with the Court before the last minute.

         Deadlines are not aspirational.   They are, in fact, deadlines.       Accordingly, the Court

would be entirely justified in denying the request. Nevertheless, in the spirit of the season, IT IS

HEREBY ORDERED THAT fact discovery shall conclude on January 6, 2014. IT IS FUTHER

ORDERED THAT the parties shall submit a joint letter addressing all discovery disputes no later

than December 6, 2013. No further extensions will be permitted. The clerk of the court is

respectfully directed to terminate the motion pending at docket number 26.

SO ORDERED.




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Dated:         December 2, 2013
               New York, New York

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